         Case 4:09-cv-03921 Document 1 Filed on 12/07/09 in TXSD Page 1 of 7



                                   UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

DANIEL DOUVILLE,                                    §
                                                    §
                     Plaintiff                      §
                                                    §
vs.                                                 §    CIVIL ACTION NO. 4:09-cv-3921
                                                    §
INVESTMENT RETRIEVERS, INC.,                        §
                                                    §    JURY DEMAND
                     Defendant                      §


                                      PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

          COMES NOW Daniel Douville, Plaintiff in the above-numbered and styled case,

complaining of and against Investment Retrievers, Inc., and for cause of action would

respectfully state the following:

                                               I. INTRODUCTION

1.        This is an action for damages brought by an individual consumer alleging that

Defendant has violated the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

(hereinafter "FDCPA") which prohibits debt collectors from engaging in abusive, deceptive,

and unfair practices.

                                          II. JURISDICTION AND VENUE

2.        Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d). Declaratory relief is

available pursuant to 28 U.S.C. §§ 2201 and 2202. Venue in this District is proper in that

the Defendant transacts business here and/or the conduct complained of occurred here.

                                                 III. PARTIES

3.        Plaintiff, Daniel Douville (hereinafter “Douville”), is an individual residing at 16222

Morgans Turn, Houston, TX 77095.

4.        Defendant, Investment Retrievers, Inc. (hereinafter “Investment Retrievers”), is a


Plaintiff’s Original Complaint-Douville
Page 1
         Case 4:09-cv-03921 Document 1 Filed on 12/07/09 in TXSD Page 2 of 7



foreign limited liability company engaged in the practice of collecting debts in this state with

its principal place of business located at 4511 Golden Foothill Pkwy, Ste. 3, El Dorado

Hills, California 95762. Investment Retrievers may be served through its registered agent

listed with the Texas Secretary of State, CT Corporation System, 350 North St. Paul Street,

Dallas, Texas 75201. The principal purpose of Investment Retrievers is the collection of

debts using the telephone and mails, and Investment Retrievers regularly attempts to

collect debts alleged to be due another.

5.        Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C. § 1692a(6).

Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

                                          IV. FACTUAL ALLEGATIONS

6.        On or about March 12, 2005, Plaintiff entered into a retail installment contract with

BMW Financial Services. Upon discovery that his wife had cancer, Plaintiff breached his

contract with BMW Financial Services and notified them that he was voluntarily

relinquishing the vehicle. Sometime after that date, the right to recover the outstanding

balance of the retail installment contract was purportedly assigned to Defendant.

7.        Defendant did not at any time relevant to this suit hold a license with the Texas

Office of the Consumer Credit Commissioner despite the requirement in the Texas Finance

Code that only authorized lenders, credit unions and those that hold licences with the

Office of the Consumer Credit Commissioner are entitled to recover outstanding balances

on retail installment contracts.

8.        On or about December 8, 2008, Defendant, left a message on Plaintiff’s home

answering machine in an attempt to collect the above referenced consumer debt from

Plaintiff. The communication did not state that it was from a debt collector attempting to

collect a debt.

9.        On or about December 12, 2008, Defendant left a message on Plaintiff’s cellular

phone in an attempt to collect a consumer debt from Plaintiff. The communication did not

Plaintiff’s Original Complaint-Douville
Page 2
         Case 4:09-cv-03921 Document 1 Filed on 12/07/09 in TXSD Page 3 of 7



state that it was from a debt collector attempting to collect a debt.

10.       On or about December 15, 2008, Defendant left a message at on Plaintiff’s work

voice mail in an attempt to collect a consumer debt. The communication did not state that

it was from a debt collector attempting to collect a debt.

11.       On or about December 16, 2008, Defendant contacted Plaintiff’s neighbor. In that

conversation, Defendant requested that Plaintiff’s neighbor walk to Plaintiff’s house and

get a message to Plaintiff because Plaintiff’s phone was “just buzzing.” As evidenced by

the previous calls, when Defendant contacted Plaintiff’s neighbor, Defendant was already

in possession of three working telephone numbers for Plaintiff, thus the communication

with Plaintiff’s neighbor was not an attempt to obtain location information for Plaintiff.

12.       On or about December 18, 2008, Defendant left another message on Plaintiff’s work

voice mail in an attempt to collect a consumer debt. The communication did not state that

it was from a debt collector attempting to collect a debt.

13.       On or about December 22, 2008, Defendant requested to speak with one of

Plaintiff’s co-workers and left a message on Plaintiff’s co-worker’s voicemail requesting

that she get Plaintiff to call Defendant.      As evidenced by the previous calls, when

Defendant contacted Plaintiff’s co-worker, Defendant was already in possession of three

working telephone numbers for Plaintiff. The communication was not an attempt to obtain

location information for Plaintiff.

14.       On or about December 29, 2008, despite having Plaintiff’s home telephone number,

cellular phone number and the ability to reach Plaintiff’s individual voice mail at work,

Defendant left a message on the company wide voice mail for Plaintiff in an attempt to

collect a consumer debt from Plaintiff. The communication was not an attempt to obtain

location information.

15.       On or about January 2, 2009, Defendant left another message on Plaintiff’s work

voice mail in an attempt to collect a consumer debt. The communication did not state that

Plaintiff’s Original Complaint-Douville
Page 3
         Case 4:09-cv-03921 Document 1 Filed on 12/07/09 in TXSD Page 4 of 7



it was from a debt collector attempting to collect a debt.

16.       On or about January 9, 2009, despite having Plaintiff’s home telephone number,

cellular phone number and the ability to reach Plaintiff’s individual voice mail at work,

Defendant left another message on the company wide voice mail for Plaintiff in an attempt

to collect a consumer debt from Plaintiff. The communication was not an attempt to obtain

location information.

17.       On or about January 13, 2009, Defendant left another message on Plaintiff’s cellular

phone in an attempt to collect a consumer debt from Plaintiff. The communication did not

state that it was from a debt collector attempting to collect a debt.

18.       On or about January 22, 2009, Defendant left another message on Plaintiff’s cellular

phone in an attempt to collect a consumer debt from Plaintiff. The communication did not

state that it was from a debt collector attempting to collect a debt.

19.       On or about January 27, 2009, Defendant left a message on Plaintiff’s home phone

answering machine                  in an attempt to collect a consumer debt from Plaintiff.   The

communication did not state that it was from a debt collector attempting to collect a debt.

20.       On or about January 30, 2009, Defendant left another message on Plaintiff’s cellular

phone in an attempt to collect a consumer debt from Plaintiff. The communication did not

state that it was from a debt collector attempting to collect a debt.

21.       On or about February 25, 2009, Defendant left another message on Plaintiff’s

cellular phone in an attempt to collect a debt from Plaintiff. The communication did not

state that it was from a debt collector attempting to collect a debt.

22.       On or about March 3, 2009, Defendant left a message on Plaintiff’s home phone

answering machine                  in an attempt to collect a consumer debt from Plaintiff.   The

communication did not state that it was from a debt collector attempting to collect a debt.

23.       On or about March 16, 2009, Defendant left another message on Plaintiff’s cellular

phone in an attempt to collect a debt from Plaintiff. The communication did not state that

Plaintiff’s Original Complaint-Douville
Page 4
         Case 4:09-cv-03921 Document 1 Filed on 12/07/09 in TXSD Page 5 of 7



it was from a debt collector attempting to collect a debt.

24.       On March 9, 2009, Defendant filed a Texas state court lawsuit to collect the

outstanding balance of the aforementioned retail installment contract.         The case was

styled Investment Retrievers, Inc. V. Daniel Douville; No. 936017; In the County Civil Court

at Law No. 2, Harris County, Texas.

25.       Plaintiff hired an attorney to defend the state court lawsuit and paid a flat fee of

$1,250 for attorney’s fees in his defense.

26.       In defense of the state court lawsuit, Plaintiff asserted that Defendant did not have

the right to bring the lawsuit or otherwise collect the outstanding balance of the retail

installment contract because Defendant did not hold a license with the Texas Office of the

Consumer Credit Commissioner as per the requirement in the Texas Finance Code. Tex.

Fin. Code § 348.501(a) states that “[a] person may not act as a holder under this chapter

unless the person: (1) is an authorized lender or a credit union; or (2) holds a license

issued under this chapter.” Tex. Fin. Code § 348.001(3)(B) defines a “holder” as the

person to whom an outstanding balance of a retail installment contract is sold or otherwise

transferred to.

27.       On November 9, 2009, the state court lawsuit came to be heard and after hearing

the evidence of both sides, the trial ruled in favor of Douville and ordered that Investment

Retrievers Inc., take nothing.

      V. CLAIM FOR RELIEF UNDER FAIR DEBT COLLECTION PRACTICES ACT

28.       Plaintiff incorporates paragraphs 1-27 above.

29.       Defendant violated the FDCPA by:

(a)       falsely and misleadingly representing that they were entitled to the outstanding

          balance of a retail installment contract when they were not licensed by the Office of

          the Consumer Credit Commissioner in violation of 15 U.S.C. § 1692e(2)(A) , (5)

          and (10);

Plaintiff’s Original Complaint-Douville
Page 5
         Case 4:09-cv-03921 Document 1 Filed on 12/07/09 in TXSD Page 6 of 7



(b)       engaging in false, deceptive or misleading representations in connection with the

          collection of a consumer debt in violation of 15 U.S.C. § 1692e(11) by not disclosing

          in its initial oral communication with the consumer that the debt collector is

          attempting to collect a debt;

(c)       engaging in false, deceptive or misleading representations in connection with the

          collection of a consumer debt in violation of 15 U.S.C. § 1692e(11) by not disclosing

          in subsequent communications with the consumer that the communications were

          coming from a debt collector;

(d)       communicating with third parties in connection with the collection of a consumer

          debt for reasons other than to obtain location information in violation of 15 U.S.C.

          § 1692c(b).

29.       As a result of these violations of the FDCPA, Defendant is liable to the Plaintiff for

actual damages, statutory damages, and costs and attorney’s fees.

                                          VI. JURY DEMAND

30.       Plaintiff demands a jury trial.

                                             VII. PRAYER

          WHEREFORE, Plaintiff respectfully prays that judgment be entered against

Defendant for the following:

          A.         Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

          B.         Statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A);

          C.         Costs and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k(a)(3),

                     including fees in the event of appeal; and

          D.         Such other and further relief as may be just and proper.



                                                Respectfully submitted,



Plaintiff’s Original Complaint-Douville
Page 6
         Case 4:09-cv-03921 Document 1 Filed on 12/07/09 in TXSD Page 7 of 7



                                           /s/ Greg Nodler
                                          Greg Nodler
                                          State Bar No. 24053395
                                          Richard Tomlinson
                                          State Bar No. 20123500
                                          LAW OFFICE OF RICHARD TOMLINSON
                                          3100 Timmons Lane, Suite 100
                                          Houston, Texas 77027
                                          713/627-2100
                                          Fax: 713/627-2101




Plaintiff’s Original Complaint-Douville
Page 7
